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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - -      x
                                     :
 UNITED STATES OF AMERICA            :              [PROPOSED]
                                     :           PROTECTIVE ORDER
          - v. -                     :
                                     :           20 Cr. 330 (AJN)
 GHISLAINE MAXWELL,                  :
                                     :
                      Defendant.     :
                                     :
- - - - - - - - - - - - - - - -      x

ALISON J. NATHAN, United States District Judge:

           WHEREAS the Government intends to produce to GHISLAINE

MAXWELL, the defendant, certain documents and materials that

(i) affect the privacy and confidentiality of individuals,

(ii) would impede, if prematurely disclosed, the Government’s

ongoing investigation; (iii) would risk prejudicial pretrial

publicity if publicly disseminated, and (iv) is not authorized

to be disclosed to the public or disclosed beyond that which is

necessary for the defense of this action, and other materials

pursuant to Federal Rule of Criminal Procedure 16 (“Rule 16”)

and pursuant to any other disclosure obligations (collectively,

the “Discovery”), which contain sensitive, confidential, or

personal identifying information;

           WHEREAS, the Government seeks to protect sensitive,

confidential, or personal identifying information contained in

the materials it produces consistent with Rule 16 or other

disclosure obligations;



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           WHEREAS the Government has applied for the entry of

this Order;

           IT HEREBY IS ORDERED:

           1.     The Discovery disclosed to the defendant

(“Defendant”) and/or to the defendant’s criminal defense

attorneys (“Defense Counsel”) during the course of proceedings

in this action:

                  a)   Shall be used by the Defendant or her

Defense Counsel solely for purposes of the defense of this

criminal action, and not for any civil proceeding or any purpose

other than the defense of this action;

                  b)   Shall not be copied or otherwise recorded or

transmitted by the Defendant, except to Defense Counsel, or

except as necessary for the Defendant to take notes, which are

not to be further transmitted to anyone other than Defense

Counsel;

                  c)   Shall not be disclosed or distributed in any

form by the Defendant or her counsel except as set forth in

paragraph 1(d) below;

                  d)   May be disclosed only by Defense Counsel and

only to the following persons (“Designated Persons”):

                       i.   investigative, secretarial, clerical,

or paralegal personnel employed full-time, part-time, or as




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independent contractors by the defendant’s counsel (“Defense

Staff”);

                       ii.   any expert or potential expert, legal

advisor, consultant, or any other individual retained or

employed by the Defendant and Defense Counsel for the purpose of

assisting in the defense of this case (“Defense

Experts/Advisors”);

                      iii.   such other persons as hereafter may be

authorized by Order of the Court (“Other Authorized Persons”);

                 e)    May be provided to prospective witnesses and

their counsel (collectively, “Potential Defense Witnesses”), to

the extent deemed necessary by defense counsel, for trial

preparation.    To the extent Discovery materials are disclosed to

Potential Defense Witnesses, they agree that any such materials

will not be further copied, distributed, or otherwise

transmitted to individuals other than the recipient Potential

Defense Witnesses.

           2.    The Defendant and Defense Counsel shall provide a

copy of this Order to any Designated Persons to whom they

disclose Discovery materials.      Prior to disclosure of Discovery

materials to Designated Persons, any such Designated Person

shall agree to be subject to the terms of this Order by signing

a copy hereof and stating that they “Agree to be bound by the

terms herein,” and providing such copy to Defense Counsel.              All



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such acknowledgments shall be retained by Defense Counsel and

shall be subject to in camera review by the Court if good cause

for review is demonstrated.     The Defendant and her counsel need

not obtain signatures from any member of the defense team (i.e.,

attorneys, experts, consultants, paralegals, investigators,

support personnel, and secretarial staff involved in the

representation of the defendants in this case), all of whom are

nonetheless bound by this Protective Order.

          3.    To the extent that Discovery is disseminated to

Defense Experts/Advisors, Other Authorized Persons, or Potential

Defense Witnesses, via means other than electronic mail, Defense

Counsel shall encrypt and/or password protect the Discovery.

          4.    The Government, the Defendant, Defense Counsel,

Defense Staff, Defense Experts/Advisors, Potential Defense

Witnesses and their counsel, and Other Authorized Persons are

prohibited from posting or causing to be posted any of the

Discovery or information contained in the Discovery on the

Internet, including any social media website or other publicly

available medium.

          5.    The Government (other than in the discharge of

their professional obligations in this matter), the Defendant,

Defense Counsel, Defense Staff, Defense Experts/Advisors,

Potential Defense Witnesses and their counsel, and Other

Authorized Persons are strictly prohibited from publicly



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disclosing or disseminating the identity of any victims or

witnesses referenced in the Discovery.          This Order does not

prohibit Defense Counsel or Defense Staff from referencing the

identities of individuals they believe may be relevant to the

defense to Potential Defense Witnesses and their counsel during

the course of the investigation and preparation of the defense

case at trial.      Any Potential Defense Witnesses and their

counsel who are provided identifying information by Defense

Counsel or Defense Staff are prohibited from further disclosing

or disseminating such identifying information.            This Order does

not prohibit Defense Counsel from publicly referencing

individuals who have spoken by name on the public record in this

case.

             6.    The Defendant, Defense Counsel, Defense Staff,

Defense Experts/Advisors, Potential Defense Witnesses, and Other

Authorized Persons are prohibited from filing publicly as an

attachment to a filing or excerpted within a filing the identity

of any victims or witnesses referenced in the Discovery, who

have not spoken by name on the public record in this case,

unless authorized by the Government in writing or by Order of

the Court.     Any such filings must be filed under seal, unless

authorized by the Government in writing or by Order of the

Court.




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          7.    Copies of Discovery or other materials produced

by the Government in this action bearing “confidential” stamps,

or designated as “confidential” as described below, and/or

electronic Discovery materials designated as “confidential” by

the Government, including such materials marked as

“confidential” either on the documents or materials themselves,

or designated as “confidential” in a folder or document title,

are deemed “Confidential Information.”       The Government shall

clearly mark all pages or electronic materials containing

Confidential Information, or folder or document titles as

necessary, with “confidential” designations.

          8.    Confidential Information may contain personal

identification information of victims, witnesses, or other

specific individuals who are not parties to this action, and

other confidential information; as well as information that

identifies, or could lead to the identification of, witnesses in

this matter.   The identity of an alleged victim or witness who

has identified herself or himself publicly as such on the record

in this case shall not be treated as Confidential Information.

          9.    Defense Counsel may, at any time, notify the

Government that Defense Counsel does not concur in the

designation of documents or other materials as Confidential

Information.   If the Government does not agree to de-designate

such documents or materials, Defense Counsel may thereafter move



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the Court for an Order de-designating such documents or

materials.    The Government’s designation of such documents and

materials as Confidential Information will be controlling absent

contrary order of the Court.

             10.   Confidential Information disclosed to the

defendant, or Defense Counsel, respectively, during the course

of proceedings in this action:

                   a)   Shall be used by the Defendant or her

Defense Counsel solely for purposes of the defense of this

criminal action, and not for any civil proceeding or any purpose

other than the defense of this action;

                   b)   Shall be maintained in a safe and secure

manner;

                   c)   Shall be reviewed and possessed by the

Defendant in hard copy solely in the presence of Defense

Counsel;

                   d)   Shall be possessed in electronic format only

by Defense Counsel and by appropriate officials of the Bureau of

Prisons (“BOP”), who shall provide the defendant with electronic

access to the Discovery, including Confidential Information,

consistent with the rules and regulations of the BOP, for the

Defendant’s review;




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                e)    Shall be reviewed by the Defendant solely in

the presence of Defense Counsel or when provided access to

Discovery materials in electronic format by BOP officials;

                f)    May be disclosed only by Defense Counsel and

only to Designated Persons;

                g)    May be shown to, either in person, by

videoconference, or via a read-only document review platform,

but not disseminated to or provided copies of to, Potential

Defense Witnesses, to the extent deemed necessary by Defense

Counsel, for trial preparation, and after such individual(s)

have read and signed this Order acknowledging that such

individual(s) are bound by this Order.

          11.   Copies of Discovery or other materials produced

by the Government in this action bearing “highly confidential”

stamps or otherwise specifically designated as “highly

confidential,” and/or electronic Discovery materials designated

as “highly confidential” by the Government, including such

materials marked as “highly confidential” either on the

documents or materials themselves, or designated as “highly

confidential” in an index, folder title, or document title, are

deemed “Highly Confidential Information.”        To the extent any

Highly Confidential Information is physically produced to the

Defendant and Defense Counsel, rather than being made available

to the Defendant and Defense Counsel for on-site review, the



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Government shall clearly mark all such pages or electronic

materials containing Highly Confidential Information with

“highly confidential” stamps on the documents or materials

themselves.

          12.   Highly Confidential Information contains nude,

partially-nude, or otherwise sexualized images, videos, or other

depictions of individuals.

          13.   Defense Counsel may, at any time, notify the

Government that Defense Counsel does not concur in the

designation of documents or other materials as Highly

Confidential Information.     If the Government does not agree to

de-designate such documents or materials, Defense Counsel may

thereafter move the Court for an Order de-designating such

documents or materials.     The Government’s designation of such

documents and materials as Highly Confidential Information will

be controlling absent contrary order of the Court.

          14.   Highly Confidential Information disclosed to

Defense Counsel during the course of proceedings in this action:

                a)    Shall be used by the Defendant or her

Defense Counsel solely for purposes of the defense of this

criminal action, and not for any civil proceeding or any purpose

other than the defense of this action;




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                   b)   Shall not be disseminated, transmitted, or

otherwise copied and provided to Defense Counsel or the

Defendant;

                   c)   Shall be reviewed by the Defendant solely in

the presence of Defense Counsel;

                   d)   Shall not be possessed outside the presence

of Defense Counsel, or maintained, by the Defendant;

                   e)   Shall be made available for inspection by

Defense Counsel and the Defendant, under the protection of law

enforcement officers or employees; and

                   f)   Shall not be copied or otherwise duplicated

by Defense Counsel or the Defendant during such inspections.

             15.   The Defendant, Defense Counsel, Defense Staff,

Defense Experts/Advisors, Potential Defense Witnesses, and Other

Authorized Persons are prohibited from filing publicly as an

attachment to a filing or excerpted within a filing any

Confidential Information or Highly Confidential Information

referenced in the Discovery, unless authorized by the Government

in writing or by Order of the Court.        Any such filings must be

filed under seal, unless authorized by the Government in writing

or by Order of the Court.

             16.   The provisions of this Order shall not be

construed as preventing disclosure of any information, with the

exception of victim or witness identifying information, that is



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publicly available or obtained by the Defendant or her Defense

Counsel from a source other than the Government.

          17.   Except for Discovery that has been made part of

the record of this case, Defense Counsel shall return to the

Government or securely destroy or delete all Discovery,

including but not limited to Confidential Information, within 30

days of the expiration of the period for direct appeal from any

verdict in the above-captioned case; the period of direct appeal

from any order dismissing any of the charges in the above-

captioned case; the expiration of the period for a petition

pursuant to 28 U.S.C. § 2255; any period of time required by the

federal or state ethics rules applicable to any attorney of

record in this case; or the granting of any motion made on

behalf of the Government dismissing any charges in the above-

captioned case, whichever date is later.

          18.   The foregoing provisions shall remain in effect

unless and until either (a) the Government and Defense Counsel

mutually agree in writing otherwise, or (b) this Order is

modified by further order of the Court.

          19.   The Government and Defense Counsel agree to meet

and confer in advance of any hearings or trial to discuss and

agree to any modifications necessary for the presentation of

evidence at those proceedings.      In the absence of agreement,




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Defense Counsel may make an appropriate application to the Court

for any such modifications.


SO ORDERED:

Dated:    New York, New York
          _______ ___, 2020


                            ______________________________
                            HONORABLE ALISON J. NATHAN
                            United States District Judge




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